                                     CIVIL4-1
           Case 0:24-cv-62338-WPD Document
JS 44 (Rev. 03/24)                         COVER    SHEET
                                              Entered on FLSD Docket 12/13/2024 Page 1 of 2
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
I. (a) PLAINTIFFS                                                                                         DEFENDANTS
       Palm-Aire Country Club Condominium Association No.                                                  City of Pompano Beach, Florida,
       8, Inc., et al.
   (b) County
       Samuel of Residence of First Listed Plaintiff
                  Switzenbaum, and                                                                        County of Residence of First Listed Defendant
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                        (IN U.S. PLAINTIFF CASES ONLY)
       Christian Panagakos,                                                                               NOTE:      IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                     THE TRACT OF LAND INVOLVED.

   (c) Attorneys (Firm Name, Address, and Telephone Number)                                                Attorneys (If Known)
       Eric Lee, Esq. (see Addendum to Civil Cover Sheet)                                                  Daniel L. Abbott, Esq. (see Addendum to Civil Cover Sheet)


II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                                      III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                                       (For Diversity Cases Only)                                    and One Box for Defendant)
  1    U.S. Government              ✖   3   Federal Question                                                                    PTF        DEF                                         PTF      DEF
         Plaintiff                            (U.S. Government Not a Party)                      Citizen of This State            1          1      Incorporated or Principal Place         4     4
                                                                                                                                                      of Business In This State

  2    U.S. Government                  4   Diversity                                            Citizen of Another State            2          2   Incorporated and Principal Place           5         5
         Defendant                            (Indicate Citizenship of Parties in Item III)                                                           of Business In Another State

                                                                                                 Citizen or Subject of a             3          3   Foreign Nation                             6         6
                                                                                                   Foreign Country
IV. NATURE OF SUIT (Place an “X” in One Box Only)                                                                                    Click here for: Nature of Suit Code Descriptions.
          CONTRACT                                                TORTS                            FORFEITURE/PENALTY                       BANKRUPTCY                       OTHER STATUTES
  110 Insurance                     PERSONAL INJURY                    PERSONAL INJURY              625 Drug Related Seizure             422 Appeal 28 USC 158             375 False Claims Act
  120 Marine                        310 Airplane                      365 Personal Injury -             of Property 21 USC 881           423 Withdrawal                    376 Qui Tam (31 USC
  130 Miller Act                    315 Airplane Product                  Product Liability         690 Other                                28 USC 157                        3729(a))
  140 Negotiable Instrument              Liability                    367 Health Care/                                                     INTELLECTUAL                    400 State Reapportionment
  150 Recovery of Overpayment       320 Assault, Libel &                  Pharmaceutical                                                 PROPERTY RIGHTS                   410 Antitrust
      & Enforcement of Judgment          Slander                          Personal Injury                                                820 Copyrights                    430 Banks and Banking
  151 Medicare Act                  330 Federal Employers’                Product Liability                                              830 Patent                        450 Commerce
  152 Recovery of Defaulted              Liability                    368 Asbestos Personal                                              835 Patent - Abbreviated          460 Deportation
       Student Loans                340 Marine                            Injury Product                                                     New Drug Application          470 Racketeer Influenced and
       (Excludes Veterans)          345 Marine Product                    Liability                                                      840 Trademark                         Corrupt Organizations
  153 Recovery of Overpayment            Liability                   PERSONAL PROPERTY                       LABOR                       880 Defend Trade Secrets          480 Consumer Credit
      of Veteran’s Benefits         350 Motor Vehicle                 370 Other Fraud               710 Fair Labor Standards                 Act of 2016                       (15 USC 1681 or 1692)
  160 Stockholders’ Suits           355 Motor Vehicle                 371 Truth in Lending              Act                                                                485 Telephone Consumer
✖ 190 Other Contract                    Product Liability             380 Other Personal            720 Labor/Management                 SOCIAL SECURITY                       Protection Act
  195 Contract Product Liability    360 Other Personal                    Property Damage               Relations                        861 HIA (1395ff)                  490 Cable/Sat TV
  196 Franchise                         Injury                        385 Property Damage           740 Railway Labor Act                862 Black Lung (923)              850 Securities/Commodities/
                                    362 Personal Injury -                 Product Liability         751 Family and Medical               863 DIWC/DIWW (405(g))                Exchange
                                        Medical Malpractice                                             Leave Act                        864 SSID Title XVI                890 Other Statutory Actions
      REAL PROPERTY                   CIVIL RIGHTS                   PRISONER PETITIONS             790 Other Labor Litigation           865 RSI (405(g))                  891 Agricultural Acts
  210 Land Condemnation             440 Other Civil Rights            Habeas Corpus:                791 Employee Retirement                                                893 Environmental Matters
  220 Foreclosure                   441 Voting                        463 Alien Detainee                Income Security Act              FEDERAL TAX SUITS                 895 Freedom of Information
  230 Rent Lease & Ejectment        442 Employment                    510 Motions to Vacate                                              870 Taxes (U.S. Plaintiff             Act
  240 Torts to Land                 443 Housing/                          Sentence                                                            or Defendant)                896 Arbitration
  245 Tort Product Liability            Accommodations                530 General                                                        871 IRS—Third Party               899 Administrative Procedure
  290 All Other Real Property       445 Amer. w/Disabilities -        535 Death Penalty                 IMMIGRATION                           26 USC 7609                      Act/Review or Appeal of
                                        Employment                    Other:                        462 Naturalization Application                                             Agency Decision
                                    446 Amer. w/Disabilities -        540 Mandamus & Other          465 Other Immigration                                                  950 Constitutionality of
                                        Other                         550 Civil Rights                  Actions                                                                State Statutes
                                    448 Education                     555 Prison Condition
                                                                      560 Civil Detainee -
                                                                          Conditions of
                                                                          Confinement
V. ORIGIN (Place an “X” in One Box Only)
  1 Original             ✖   2 Removed from                  3     Remanded from               4 Reinstated or             5 Transferred from      6 Multidistrict                     8 Multidistrict
    Proceeding                 State Court                         Appellate Court               Reopened                    Another District          Litigation -                      Litigation -
                                                                                                                             (specify)                 Transfer                          Direct File
                                        Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity):
                                        Declaratory Judgment
VI. CAUSE OF ACTION Brief description of cause:
                                        Declaratory Judgment to Interpret Court-Approved Settlement Agreement
VII. REQUESTED IN                            CHECK IF THIS IS A CLASS ACTION                        DEMAND $                                    CHECK YES only if demanded in complaint:
     COMPLAINT:                              UNDER RULE 23, F.R.Cv.P.                                                                           JURY DEMAND:                    Yes        ✖   No
VIII. RELATED CASE(S)
                                            (See instructions):
      IF ANY                                                        JUDGE                                                                DOCKET NUMBER
DATE                                                                  SIGNATURE OF ATTORNEY OF RECORD
12/13/2024                                                             /s/ Daniel L. Abbott
FOR OFFICE USE ONLY

  RECEIPT #                     AMOUNT                                     APPLYING IFP                                    JUDGE                           MAG. JUDGE
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                  Addendum to Southern District of Florida Civil Cover Sheet


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